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 1    RONALD L. RICHMAN (SBN 139189)
      ADAM THOMAS (SBN 297249)
 2    BULLIVANT HOUSER BAILEY PC
      101 Montgomery Street, Suite 2600
 3    San Francisco, CA 94104-4146
      Telephone: 415.352.2700
 4    Facsimile: 415.352.2701
      E-mail:       ron.richman@bullivant.com
 5                  adam.thomas@bullivant.com
 6    Attorneys for Plaintiffs
 7

 8                                        UNITED STATES DISTRICT COURT
 9                                     NORTHERN DISTRICT OF CALIFORNIA
10

11   BOARD OF TRUSTEES OF THE                            Case No.: 4:22-cv-00469-DMR
     LABORERS HEALTH AND WELFARE
12
     TRUST FUND FOR NORTHERN                             JOINT STIPULATION AND REQUEST
13   CALIFORNIA; BOARD OF TRUSTEES OF                    TO STAY CASE FOR NINETY (90)
     THE LABORERS VACATION-HOLIDAY                       DAYS; ORDER THEREON
14   TRUST FUND FOR NORTHERN
     CALIFORNIA; BOARD OF TRUSTEES OF                             **AS MODIFIED**
15   THE LABORERS PENSION TRUST FUND
     FOR NORTHERN CALIFORNIA; and
16
     BOARD OF TRUSTEES OF THE
17   LABORERS TRAINING AND RETRAINING
     TRUST FUND FOR NORTHERN
18   CALIFORNIA,
19                                  Plaintiffs,
20
               vs.
21
     R G MASONRY, INC., a California
22   corporation,
23                                  Defendant.
24

25            IT HEREBY STIPULATED by and between plaintiffs Boards of Trustees of the Cement

26   Masons Health and Welfare Trust Fund for Northern California, Board of Trustees of the

27   Cement Masons Vacation-Holiday Trust Fund for Northern California, Board of Trustees of the

28   Cement Masons Pension Trust Fund for Northern California, and Board of Trustees of the



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            STIPULATION AND REQUEST TO STAY CASE FOR NINETY (90) DAYS; ORDER THEREON
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 1   Cement Masons Training Trust Fund for Northern California (“Cement Masons Trust Funds”),
 2   on the one hand, and defendant R G Masonry, Inc. (“RG Masonry”), on the other hand, through
 3   their respective counsel, as to the following.
 4            On January 24, 2022 plaintiffs filed their Complaint for Breach of Collective Bargaining
 5   Agreement; To Recover Unpaid Trust Fund Contributions and for Mandatory Injunction seeking
 6   to recover unpaid trust fund contributions owed to plaintiffs, and to compel defendant, a
 7   signatory Laborers Union employer, to submit to an audit of the books and records of
 8   R G Masonry, Inc. [Dkt. 1]. Defendant was served personally served on March 22, 2022.
 9   [Dkt. 7]. Defendant filed an answer on March 23, 2022. [Dkt. 10].
10            In conjunction with the complaint, plaintiffs seek to recover approximately $484,473.90
11   in alleged unreported and unpaid fringe benefit contributions, plus accrued interest, and
12   liquidated damages, pursuant to an audit conducted on or about September 27, 2021, covering
13   the period August 2016 through September 2020 [First and Second Claims for Relief].
14   Plaintiffs also seek to compel defendant to submit to a further audit of its books and records for
15   the period October 2020 through the last completed quarter [Third Claim for Relief].
16            The parties met and conferred over this matter in a thirty-minute phone call held on
17   Monday, April 18, 2022, and a one-hour video conference on held on Wednesday,
18   March 20, 2022. On March 20, 2022, defendant provided plaintiffs with some of the audit
19   documentation requested by plaintiffs. In conjunction with the alleged unreported and unpaid
20   contributions for the period August 2016 – September 2020, defendant is committed to
21   providing plaintiffs’ auditors with additional documentation as to any dispute by defendant
22   regarding the alleged unreported and unpaid contributions covering this period. Defendant
23   committed to providing this additional documentation to plaintiffs on or before Friday,
24   April 29, 2022. Defendant has also agreed to provide plaintiffs’ auditor with access to its books
25   and records for the purpose of conducting a further audit for the period October 2020 through
26   the most recent completed quarter.
27            Plaintiffs’ auditors will review all documentation provided by defendant to determine if
28   any, or all the unpaid contributions alleged by plaintiffs in the First and Second Claims for



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 1   Relief can be resolved and to determine if any further contributions are owed for the period of
 2   October 2020 through the most recently completed quarter. It is anticipated the auditor will
 3   complete its review of any additional documentation produced by plaintiffs, within sixty (60)
 4   days following receipt the documentation requested from defendant.
 5            Thereafter, plaintiffs and defendant would like an additional thirty (30) days to review
 6   the auditor’s revised or new findings and endeavor to resolve this dispute in its entirety by way
 7   of a settlement agreement and payment plan (if necessary), thereby avoiding the time and
 8   expense of further litigation.
 9            Based on the above, the parties jointly stipulate to, and respectfully request that this
10   Court stay this action for a period of ninety (90) days to allow the parties time to (1) review the
11   auditor’s revised findings as to the additional documentation provided by defendant, (2) review
12   the auditor’s findings with regard to the further audit for the period of October 2020 through the
13   most recent completed quarter, and (3) to endeavor to resolve any remaining disputes by way of
14   a settlement agreement and payment plan, thereby avoiding further time and expense of further
15   litigation.
16   DATED: April 26, 2022
17                                                   BULLIVANT HOUSER BAILEY PC
18

19                                                   By    /s/ Adam Thomas
                                                          Ronald L. Richman
20
                                                          Adam Thomas
21
                                                     Attorneys for Plaintiffs
22
     DATED: April 26, 2022
23
                                                     LAW OFFICE OF GEORGE F. CAMERLENGO
24

25
                                                     By    /s/ George F. Camerlengo
26                                                        George F. Camerlengo

27                                                   Attorney for Defendant
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 1                                                ORDER
 2            Pursuant to the parties’ stipulation and good cause appearing:
 3            IT IS HEREBY ORDERED that this matter is stayed for ninety (90) days and that the
 4   initial case management conference is continued to       August 3              , 2022 at 1:30
                                                                                              ___ p.m.,
 5   Courtroom 4, 3rd Floor, Ronald Dellums Federal Building, 1301 Clay Street Oakland, CA. The
 6   parties shall file a joint case management conference statement seven (7) days prior to the re-
 7   scheduled case management conference.
 8            Should the parties be unable to reach resolution of any dispute in the upcoming audit,
 9   plaintiffs shall file and serve an amended complaint and defendant’s counsel shall accept service
10   of process, on behalf of defendant, consistent with the parties’ stipulation, above.
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                   26 2022                                             TES D      TC
11   DATED: April _____,                                              A
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                                                        UNITED STATES MAGISTRATE JUDGE




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            STIPULATION AND REQUEST TO STAY CASE FOR NINETY (90) DAYS; ORDER THEREON
